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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:08CR3177-2
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
JOHN HENRY SUTTON,                            )
                                              )
                     Defendant.               )

       IT IS ORDERED that:

       (1)    The government’s request for hearing (filing 197) is granted.

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 188) has been set before the undersigned United States district judge on
Tuesday, December 21, 2010, at 1:00 p.m., in Courtroom No. 1, United States Courthouse
and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)   The United States Marshal is directed to return the defendant to the district for
the hearing.

       Dated November 15, 2010.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge
